                                                                   THIS ORDER IS APPROVED.


                                                                    Dated: February 21, 2019



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                                                                   Scott H. Gan, Bankruptcy Judge
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                              UNITED STATES BANKRUPTCY COURT
 7
                                     DISTRICT OF ARIZONA
 8
     In re                                         Chapter 7 Proceeding
 9
     Roy Stewart,                                  Case No.: 4:19-bk-00042-SHG
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                    Debtor,
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                                                   ORDER REGARDING MOTION TO
12   Nationstar Mortgage, LLC, D/B/A/ Mr.          LIFT AUTOMATIC BANKRUPTCY
     Cooper, as servicer for HSBC Bank USA,
13   National Association as Trustee for           STAY
     Structured Adjustable Rate Mortgage
14   Loan Trust, Mortgage Pass-Through             Re: Real Property Located at:
     Certificates, Series 2005-21
15                                                 3662 West Gailey Drive
                      Movant,                      Tucson, Arizona 85741
16
      vs.                                                   (Related to Docket #12)
17
     Roy Stewart,
18
                    Respondent.
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20           The Court having considered the Motion for Relief from the Automatic Stay (the

21   “Motion”) filed by Nationstar Mortgage, LLC, D/B/A Mr. Cooper, as servicer for HSBC

22   Bank USA, National Association as Trustee for Structured Adjustable Rate Mortgage

23   Loan Trust, Mortgage Pass-Through Certificates, Series 2005-21, due notice having been

24   given, and no objections received, for the reasons stated on the record,

25           IT IS HEREBY ORDERED that the stay under 11 U.S.C. § 362(a) and all other

26   applicable stays are terminated and Nationstar Mortgage, LLC, D/B/A Mr. Cooper, as



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 1   servicer for HSBC Bank USA, National Association as Trustee for Structured Adjustable
 2   Rate Mortgage Loan Trust, Mortgage Pass-Through Certificates, Series 2005-21, its
 3   successors, transferees, and assigns, may exercise any rights and remedies under
 4   applicable non-bankruptcy law with respect to the subject property described above.

 5                              DATED AND SIGNED ABOVE.

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